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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

  CHIANNE D., et al.                             CASE NO. 3:23-cv-985-MMH-LLL
  v.
  JASON WEIDA, in his official capacity
  as Secretary for the Florida Agency
  for Health Care Administration, et al.

  Counsel for Plaintiffs:                    Counsel for Defendants:
  Katherine DeBriere                         Andy Bardos
  Sarah Grusin                               James Moore
  Lynn Hearn                                 Ashley Lukis
  Miriam Heard
  Amanda Avery
  Jerron Wheeler
  Ronnie Graham

                  HONORABLE MARCIA MORALES HOWARD
                     UNITED STATES DISTRICT JUDGE

  Courtroom Deputy: Jodi L. Wiles                  Court Reporter: Katharine Healey


                                 CLERK’S MINUTES

 PROCEEDINGS OF: STATUS CONFERENCE (VIA ZOOM)

 Discussion regarding dates to reset the bench trial.

 The trial testimony of Ms. Taylor will be held on July 11, 2024, at 9:30 a.m. in
 Courtroom 10B.

 The remainder of the trial will be held beginning the week of July 29, 2024, at 9:00
 a.m. or the week of August 5, 2024, at 9:00 a.m. in Courtroom 10B.




 Date: May 28, 2024         Time: 1:36 p.m. – 1:55 p.m.     Total: 19 Minutes
